 

 

Case: 1:14-cr-00287 Document #: 281 Filed: 10/02/18 Page 1 of 5 Page|D #:1080

UNITED STATES DISTRICT COURT

Northern District of Illinois

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
ROBERT D LATTAS CaSe Number: lil4-CR-00287(2)

THE DEFENDANT:

USM Number: 45822-424

Vadim A. Glozman
Defendant’s Attomey

\/V\/\/\/\/\/\/\/\./

g pleaded guilty to count(s) l of the Indictment.

l:l pleaded nolo contendere to count(s)

|:l was found guilty on count(s)

which was accepted by the court.
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section / Nature of Offense

18 U.S.C. § 1344 Bank Fraud

Offense Ended Count
7/31/2012 l

The defendant is sentenced as provided in pages 2 through 5 of this judgment The sentence is imposed pursuant to the Sentencing Reform

Act of 1984.

El The defendant has been found not guilty on count(s)

g Count(s) 2, 3, 4, 5, 6, 7, 8, 9 and ll of the Indictment. dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States Attomey for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attomey of material changes in economic circumstances

 

October 2, 2018

Date of ImWQfJudWW
Signature of Judge V/

Charles R. Norgle, United States D strict J ge
Name and Title of Judge

UCT 0 2 261-9

 

Date

 

 

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Sheet 2 - Imprisonment Judgment - Page 2 of 5
DEFENDANT: ROBERT D LATTAS

CASE NUMBER; 1;14-CR-00287(2)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
Sixty-three (63) months to bureau of prisons to run concurrent with sentence imposed by Judge Durkin in Case No. 13 CR 463.

IX The court makes the following recommendations to the Bureau of Prisons: Recommendation for participation in RDAP and

designation to Oxford.

l:l The defendant is remanded to the custody of the United States Marshal.
l:l The defendant shall surrender to the United States Marshal for this district:
l:l at on

El as notified by the United States Marshal.

g The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
g before 2:0() pm on 12/3/2018
l:l as notified by the United States Marshal.

l:l as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to at , with a certified copy of this
judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES l\/IARSHAL

 

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Sheet 5 - Criminal l\/lonetary Penalties _Iudgment ~ Page 3 of 5

DEFENDANT: ROBERT D LATTAS
CASE NUl\/IBER: 1:14-CR-00287(2)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

 

 

 

 

 

 

 

Assessmeilt JVTA Assessment* Fine Restitution
TOTALS $100.00 $.00 $.00 $12,840,319.00
The determination of restitution is deferred until . An AmendedJudgmenl in a Criminal Case (AO245C) will be entered after such

determination
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Restitution of$l 1,834,284.00 to:

BANK OF AMERICA

ATTN: DONNA MCLAUCHLIN
NC4-105-01-41 PIEDMONT PARKWAY
GREENSBORO, NC 27410
$4,985,990.00

CITIMORTGAGE INC.

CITIBANK N.A.

ATTN: LEGAL SERVICES INTAKE UN
701 E. 60TH STREET NORTH

SIOUX FALLS, SD 57117

$244,965.00

FEDERAL HOME LOAN MORTGAGE CORPORATION (FREDDIE MA
ATTN: RESTITUTION ADMIN/LEGAL

8200 JONES BRANCH DRIVE

l\/IS 202

MCLEAN, VA 22102

$1,991,578.00

FEDERAL NATIONAL MORTGAGE CORPORATION (FANNIE MAE)
ATTN: ACCOUNTS RECEIVABLE

14221 DALLAS PARKWAY

SUITE 100

DALLAS, TX 75254

$385,800.00

GUARANTEED RATE INC.
ATTN: LEGAL DEPARTMENT
3940 N. RAVENSWOOD
CHICAGO, IL 60613
$1,064,451.00

WELLS FARGO BANK

ATTN; RESTITUTION ADMIN/LEGAL
1700 LINCOLN STREET

9Tl-I FLOOR

DENVER, CO 80203

$3,161,500.00

 

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Sheet 5 ~ Crimina| Monetary Penalties Judgment - Page 4 of 5

DEFENDANT: ROBERT D LATTAS
CASE NUMBER: 1:14-CR-00287(2)
Restitution of $1,006,035.00

CITIMORTGAGE INC.

CITIBANK N.A.

ATTN: LEGAL SERVICES INTAKE UN
701 E. 60TH STREET NORTH

SIOUX FALLS, SD 57117

$141,800.00

FIRST HORIZON NATIONAL CORPORATION
ATTN: LEGAL DIVISION

165 MADISON AVE.

8TH FLOOR

MEMPHlS, TN 38103

$226,385.00

HSBC MORTGAGE CORP

HSBC BANK NA

ATTN: FINANCIAL CRIME INVESTIG
452 FIFTH AVENUE

NEW YORK, NY 10016

$245,650.00

JP MORGAN CHASE BANK

ATTN: KATHY VAL, RECOVERY INVE
10151 DEERWOOD PARK BLVD
BUILDING 300

JACKSONVILLE, FL 32256

$392,200.00
|:| Restitution amount ordered pursuant to plea agreement 8
|:| The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full

before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1`). All of the payment options on Sheet
6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

g The court determined that the defendant does not have the ability to pay interest and it is ordered that:
ig the interest requirement is waived for the restitution..
l:l the interest requirement for the is modified as follows:

|:| The defendant’s non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fine
obligations

* Justice for Victims of Trafficking Act of2015, Pub. L. No. 1 14-22.
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.

 

 

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Sheet 6 - Schedule of Payments Judgment - Page 5 of 5
DEFENDANT: ROBERT D LATTAS
CASE NUl\/IBER: 1:14-CR-00287(2)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A l:l Lump sum payment of $ due immediately.

l:l balance due not later than , or

El balance due in accordance with l:l C, l:l D, l:l E, or l:l F below; or

B l:l Payment to begin immediately (may be combined with l:l C, l:l D, or 1:| F below); or

C l:l Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e,g., months or years), to
commence (e.g., 30 or 60 days) after the date of this judgment; or

D l:l Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months oryears), to
commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E l:l Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment

The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F 12 Special instructions regarding the payment of criminal monetary penalties:
The fine as well as any costs of incarceration are waive.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. A11 criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

g Joint and Several

Case Number Total Amount Joint and Several Corresponding Payee, if

Defendant and Co-Defendant Names 812,840,319 Amount Appropriate

(including defendant number) all liable co-defendants in Case No. 14 CR 287-1,3,4,5,6

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

[1 The defendant shall pay the cost of prosecution
|:l The defendant shall pay the following court cost(s):
l] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court cost

